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                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF LOUISIANA

 ABBY OWENS, ET AL.                   CIVIL ACTION NO.: 3:21-cv-00242

                  Plaintiffs,         SECTION

 VERSUS                               JUDGE VITTER

 LOUISIANA STATE UNIVERSITY, et al.   MAGISTRATE JUDGE JOHNSON

                  Defendants.         ORAL ARGUMENT REQUESTED




DEFENDANT TIGER ATHLETIC FOUNDATION’S MEMORANDUM IN SUPPORT
   OF RULE 12(b)(6) MOTION TO DISMISS NON-RACKETEERING CLAIMS




                                      Judy Y. Barrasso, 02814
                                      Laurence D. LeSueur, 35206
                                      Chloé M. Chetta, 37070
                                      Lance W. Waters, 37351
                                      Barrasso Usdin Kupperman
                                        Freeman & Sarver, L.L.C.
                                      909 Poydras Street, Suite 2350
                                      New Orleans, LA 70112
                                      Telephone: (504) 589-9700
                                      Facsimile: (504) 589-9701
                                      jbarrasso@barrassousdin.com
                                      llesueur@barrassousdin.com
                                      cchetta@barrassousdin.com
                                      lwaters@barrassousdin.com

                                      Counsel for Tiger Athletic Foundation
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                                          INTRODUCTION

       Tiger Athletic Foundation (TAF) seeks to dismiss plaintiffs’ claims against it. This

memorandum addresses plaintiffs’ civil rights and state-law claims, while their racketeering claim

is the subject of a separate, contemporaneously filed motion. Because this case is fundamentally

about LSU’s alleged failure to abide by Title IX—for which TAF bears no legal duties or

responsibilities—each of the extraneous claims against TAF should be dismissed.

                                          BACKGROUND

        This Title IX case arises out of LSU’s alleged failure to maintain an adequate reporting,

investigation, and disciplinary system for sexual assault complaints. Plaintiffs are ten women who

allege that, while students, they experienced varying types of actionable sex discrimination under

Title IX. Plaintiffs also allege that, when they reported their mistreatment to LSU, they were either

largely ignored or, worse, belittled.1 No plaintiff alleges that she reported her harassment or assault

to anyone at TAF or that anyone at TAF ever knew about it.2 In particular, Andries, Doe, Hovis,

and Kitch allege mistreatment having nothing to do with a student-athlete or athletic department

employee, and thus nothing to do with TAF.3

       TAF is a legislatively favored private, nonprofit fundraising corporation that “enhances the

programs, facilities, and research and educational opportunities” at LSU.4 Louisiana law prohibits

TAF from being deemed a state, public, or quasi-public actor “for any purpose.”5 But plaintiffs




1
       Some plaintiffs never reported their mistreatment at all. See generally R. Doc. 22 at ¶¶ 297–98
       (alleging Kennan Johnson did not understand “weight and sexual orientation harassment
       constituted [Title IX] sex discrimination” and “was afraid” to make a report).
2
       See generally id. at ¶¶ 110–352 (failing to identify TAF in the “individual factual allegations”).
3
       Id. at ¶¶ 209–43, 302–21, 322–39, 340–52.
4
       La. Stat. § 17:3390(A).
5
       La. Stat § 17:3390(B).


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try to allege that, despite TAF’s legislatively defined role outside the university system, TAF exerts

a “level of control over LSU . . . beyond what would normally be expected of a nonprofit

organization.”6       For example, plaintiffs allege that, according to a 2020 contract, TAF is

“allow[ed]” to purchase life insurance for LSU’s football coach, which, if obtained, would require

the coach “to cooperate” with TAF.7 Plaintiffs neglect to explain what this has to do with, for

instance, Title IX Coordinator Jennie Stewart’s failure to investigate Abby Owens’ alleged rape or

to provide support resources to students like Samantha Brennan in 2016, tennis coach Julia Sell’s

allegedly ridiculing Kennan Johnson in 2017, or a Ph.D. professor’s sexually propositioning

students like Sarah Beth Kitch before 2014.8 Plaintiffs also allege that they think TAF paid for

athletic department employees’ cell phones so that LSU can “attempt to evade” public records

law.9 But plaintiffs don’t say whether they’ve ever sent a public records request, whether LSU has

ever successfully avoided producing records, or whether that avoidance stemmed at all from

allegedly private phones.10       Fundamentally, plaintiffs complain that they think TAF spent

fundraising money “on training related to sexual misconduct, bullying, discrimination and other

bad behavior within LSU Athletics Department.”11 They repeatedly assert that TAF—which has

no control over LSU’s Title IX obligations as a matter of federal law—“implemented a

purposefully deficient sexual misconduct and Title IX reporting scheme” at LSU to “insulate[]

coaches and players . . . from legitimate sexual assault claims.”12



6
       R. Doc. 22 at ¶ 95.
7
       Id. at ¶ 98.
8
       See generally id. at ¶¶ 177–91, 192–208, 283–301, 340–52.
9
       Id. at ¶ 100.
10
       See generally id.
11
       Id. at ¶ 99.
12
       See, e.g., id. at ¶ 10.


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       But the “Husch Blackwell Report,” on which plaintiffs’ claims explicitly depend, says the

opposite, and when an attached exhibit contradicts a complaint’s allegations, the United States

Fifth Circuit Court of Appeals holds that “the exhibit and not the allegation controls.”13 Husch

Blackwell conducted a months-long, comprehensive review of LSU’s Title IX practices, resulting

in a 262-page report with recommendations to “meaningfully improv[e] LSU’s efforts to prevent

and effectively respond to sex-based misconduct.”14 In 262 pages, Husch Blackwell mentions

TAF only once.

       Husch Blackwell writes that, in 2016, TAF paid outside consultant Dan Beebe Group

(“Beebe Group”) to “conduct an Independent Assessment of human relations risks, including

misconduct prevention policies and programs” at LSU, generally, and within the Athletic

Department, specifically.15 According to Husch Blackwell, (1) LSU’s General Counsel and

Internal Auditors—not TAF—received a draft report of Beebe Group’s written assessment, (2)

“University leadership”—not TAF—discussed the report’s findings directly with Beebe Group,

and (3) “the University”—not TAF—declined to request a final version of the report.16 Husch

Blackwell also notes that Beebe Group’s report was “replete with solid recommendations” that

LSU did not implement and that Husch Blackwell still urged LSU—not TAF—to consider.17




13
       Quadvest, L.P. v. San Jacinto River Auth., 7 F.4th 337, 345 (5th Cir. 2021).
       In addition, because plaintiffs’ first amended complaint attaches and incorporates by reference the
       Husch Blackwell Report, “the court may . . . properly consider those documents” in resolving this
       motion to dismiss. Walker v. Beaumont Indep. Sch. Dist., 938 F.3d 724, 735 (5th Cir. 2019).
14
       R. Doc. 22-1 at 3.
15
       Id. at 39.
16
       Id. at 39–40.
17
       Id. at 39.


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       According to Husch Blackwell, starting in 2013, “the Athletic Department used Taylor

Porter to present on the topic of workplace harassment.”18 Then, in 2016, “the Athletic Department

engaged its own outside consultant, the ‘Dan Beebe Group’ . . . to provide separate training to

Athletic Department students and employees regarding rights and obligations with respect to

incidents and reports of sex-based misconduct” as well as issues like “NCAA compliance, student-

athlete wellness and abuse, and other ethical concerns specific to athletics operations.”19 For its

presentation, Beebe Group “reasonably relied on policies and information shared by Athletics

administration”—not TAF.20

       In twelve single-spaced pages of recommendations “informed by all of the materials

[Husch Blackwell] reviewed, [its] comments throughout the report, [its] understanding of national

trends and well-recognized best practices, and . . . the input of the various members of the

University community,” TAF never comes up.21 If it were true that TAF inserted itself into LSU’s

Title IX reporting structure and implemented a “deficient” reporting scheme for private financial

gain, the 1000-person national law firm tasked with rooting out problems in LSU’s Title IX system

would have uncovered that, noted it among the many other issues it found plagued LSU’s Title IX

processes, and addressed it among their many recommendations.22 Instead, Husch Blackwell

found “no evidence” to support plaintiffs’ theory:

                [T]he suggestion that LSU student athletes in the Title IX process
                are getting special treatment is simply not supported by what we
                have learned in this review. There is also no evidence that anyone
                in a leadership position within the University has put any sort of


18
       Id. at 31.
19
       Id. at 32 (emphasis added).
20
       Id. at 33 (emphasis added).
21
       Id. at 139–40.
22
       See generally R. Doc. 22-1.


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               pressure on the Title IX Office or otherwise to reach conclusions
               favorable to prominent student athletes.23

       Against this background, plaintiffs’ motive for including TAF in this Title IX lawsuit is

clear. While the eighteen other defendants are state entities or state actors in a higher education

system beset with legislative budget cuts, plaintiffs allege—untethered to any claim or alleged

conduct—that they think “TAF has over $400 million dollars [sic] in total assets.”24 Because TAF

has zero control over LSU, its employees, or its obligations under federal or state law, TAF doesn’t

belong here at all, and plaintiffs’ claims should be dismissed.

                                    STANDARD OF REVIEW

       To survive a Rule 12(b)(6) motion to dismiss, a plaintiff must plead facts “stat[ing] a claim

to relief that is plausible on its face.”25 A claim is facially plausible only if it allows the court to

“draw the reasonable inference that the defendant is liable for the misconduct alleged.”26

Allegations must show “more than a sheer possibility that [the] defendant has acted unlawfully.”27

Though courts accept well-pleaded facts as true, courts cannot “credit conclusory allegations or

allegations that merely restate the legal elements of a claim.”28

       The United States Supreme Court instructs that, on a Rule 12(b)(6) motion, “[i]t is no

answer to say that a claim just shy of a plausible entitlement to relief can, if groundless, be weeded

out early in the discovery process through ‘careful case management.’” It must be dismissed.29



23
       Id. at 144–45.
24
       R. Doc. 22 at ¶ 32.
25
       PSKS, Inc. v. Leegin Creative Leather Prods., Inc., 615 F. 3d 412, 417 (5th Cir. 2010) (quoting
       Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).
26
       Iqbal, 556 U.S. at 678.
27
       Id.
28
       Chimm v. Univ. of Tex. at Austin, 836 F.3d 467, 469 (5th Cir. 2016) (citing Iqbal, 556 U.S. at 678).
29
       Iqbal, 556 U.S. at 685 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 559 (2007).


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“Rule 8 . . . does not unlock the doors of discovery for a plaintiff armed with nothing more than

conclusions.”30 The Fifth Circuit agrees: “[p]laintiffs [ar]e not entitled to discovery without a

properly pleaded complaint.”31

                                     LAW AND ARGUMENT

       Plaintiffs plead eleven causes of action against TAF:32 (1) Count VI: First Amendment

retaliation under § 1983,33 (2) Count VII: denial of equal protection under § 1983,34 (3) Count

VIII: denial of procedural due process under § 1983,35 (4) Count IX: conspiracy to interfere with

civil rights under §§ 1985 and 1986,36 (5) Count XII: negligence under Louisiana Civil Code article

2315,37 (6) Count XIII: negligent supervision under Louisiana Civil Code articles 2315 and 2030,38

(7) Count XIV: negligent infliction of emotional distress under Louisiana Civil Code articles 2315

and 2030,39 (8) Count XV: intentional infliction of emotional distress under Louisiana Civil Code

articles 2315 and 2030,40 (9) Count XVII: civil conspiracy under Louisiana Civil Code article

2324,41 (10) Count XIX: violations of the Louisiana Racketeering Act, La. Stat. § 15:1351, et




30
       Iqbal, 556 U.S. at 678.
31
       Whitaker v. Collier, 862 F.3d 490, 502 (5th Cir. 2017).
32
       Plaintiffs dismissed their federal RICO claim identified in Count XVIII. See R. Doc. 67.
33
       R. Doc. 22 at ¶¶ 424–32.
34
       Id. at ¶¶ 434–40.
35
       Id. at ¶¶ 442–50.
36
       Id. at ¶¶ 452–56.
37
       Id. at ¶¶ 480–88.
38
       Id. at ¶¶ 490–96.
39
       Id. at ¶¶ 498–503.
40
       Id. at ¶¶ 505–09.
41
       Id. at ¶¶ 530–34.


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seq.,42 and (11) Count XX: unjust enrichment under Louisiana Civil Code article 2298.43 Each of

these claims should be dismissed.

I.     Plaintiffs’ civil rights and state-law claims are all untimely because they accrued more
       than one year ago, and equitable tolling does not apply.

       Because there is no federal statute of limitations provision for section 1983 claims, courts

apply the forum state’s statute of limitations for tort claims.44 Under Louisiana Civil Code article

3492, “[d]elictual actions are subject to a liberative prescription of one year.”45 So this one-year

prescriptive period applies to both plaintiffs’ state-law tort and civil rights claims.

       Plaintiffs first filed this suit on April 26, 2021,46 making the only timely claims those that

accrued on or after April 26, 2020.47 A tort claim accrues and prescription begins to run “from the

day injury or damage is sustained.”48 And the plaintiff “bears the burden of showing that

prescription has not run when the face of the [complaint] shows that the action is time-barred.”49

       Here, plaintiffs’ complaint shows nearly all their individual actions are untimely because

each plaintiff (other than Corinn Hovis)50 alleges suffering physical, mental, and emotional injuries

from LSU’s Title IX failures while they were students over two years ago:




42
       Id. at ¶¶ 554–80.
43
       Id. at ¶¶ 582–87.
44
       Wallace v. Kato, 549 U.S. 384, 387 (2007) (“Section 1983 provides a federal cause of action, but .
       . . federal law looks to the law of the State in which the cause of action arose. . . for the length of
       the statute of limitations: It is that which the State provides for personal-injury torts.”).
45
       La. Civ. Code art. 3492.
46
       R. Doc. 1.
47
       See La. Civ. Code art. 3492.
48
       Id.; see also Richard v. Wal-Mart Stores, Inc., 559 F.3d 341, 345 (5th Cir. 2009) (same).
49
       Richard, 599 F.3d at 345.
50
       Hovis alleges that she was “deeply traumatized by . . . [LSU’s] Title IX investigation process,”
       which ended in May 2020, when the school suspended her rapist. R. Doc. 22 at ¶¶ 331–33.


                                                    12
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         After Calise Richardson reported misconduct to defendants Sharon Lewis and Keava Soil-
          Cormier in 2016,51 she “immediately . . . faced retaliation” at her on-campus job and Soil-
          Cormier “spread[] office rumors” about her—five years before this lawsuit.52 When
          Richardson learned in 2018—three years before this lawsuit—that a Title IX investigation
          was closed without any resulting discipline, she was “extremely upset.”53
         In 2016—five years before this lawsuit—defendants Miriam Segar, Mari Fuentes-Martin,
          and Ed Orgeron learned a football player raped Ashlyn Robertson and allegedly did
          nothing.54 Robertson starting abusing drugs and alcohol “as a result of [the] rape.”55
         In 2016—five years before this lawsuit—Samantha Brennan told defendants Sharon Lewis
          and Miriam Segar, then LSU police, that a football player circulated a sexually explicit
          photo of her, and none of them offered Brennan any support, resources, or
          accommodations.56 Brennan experienced “intense feelings of humiliation and shame” and
          left LSU that same year—again, five years before this lawsuit.57
         A football player raped Abby Owens in 2016, which “severely exacerbated” her pre-
          existing substance abuse.58 Owens left LSU in March 2017—four years before this
          lawsuit—“because she could not bear to be [near] her rapist.”59 No one reported Owens’
          rape until after she left.60 Owens blames defendants for her substance abuse problems and
          the monetary losses she incurred leaving LSU and enrolling elsewhere.61
         A fraternity member sexually assaulted Elizabeth Andries on a 2016 bus trip and tried to
          assault her again in 2017.62 That fall—four years before this lawsuit—Andries reported
          her assault to LSU and obtained victim resources in February 2018—three years before
          this lawsuit.63 In 2019—two years before this lawsuit—defendant Jonathan Sanders




51
          Id. at ¶¶ 123, 127.
52
          Id. at ¶¶ 132, 138.
53
          Id. at ¶ 152.
54
          Id. at ¶¶ 157, 159, 161, 164, 169–70.
55
          Id. at ¶¶ 173, 175.
56
          Id. at ¶¶ 178, 180, 181, 183, 184.
57
          Id. at ¶ 185; see also R. Doc. 22-1 at 102 (“Brennan stated she ‘quietly’ left LSU during the Fall
          2016.”).
58
          R. Doc. 22 at ¶¶ 195–96.
59
          Id. at ¶ 200.
60
          Id. at ¶¶ 197–98.
61
          Id. at ¶ 208.
62
          Id. at ¶¶ 210, 212, 214.
63
          Id. at ¶ 217.


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          “inappropriate[ly] and unnecessary[ily]” questioned Andries about her assault, and Andries
          had panic attacks when LSU failed to remove her assailant from her classes.64
         Jade Lewis experienced dating violence from 2017 to 2018—at least three years before
          this lawsuit—that defendants Julia Sell, Michael Sell, Verge Ausberry, Miriam Segar, Ed
          Orgeron, and Jonathan Sanders all knew about.65 Though her abuse led to at least two Title
          IX investigations, LSU disciplined Lewis for “residential life policy” violations while her
          abuser remained on campus.66 Lewis contends that LSU’s “repeated failure to properly
          respond” to her abuse until 2019, when her abuser was arrested and pleaded guilty—two
          years before this lawsuit—caused her “severe . . . distress.”67
         Defendant Julia Sell ridiculed Kennan Johnson from 2017 until she graduated in 2019
          which “end[ed] the[ir] relationship”—two years before this lawsuit.68 During that time—
          again, two years before this lawsuit—Johnson felt “very uncomfortable and alienated,”
          emotionally abused, and physically sick from “starv[ing] herself [to] meet Defendant Julia
          Sell’s expectations” and her “severe anxiety.”69
         Jane Doe was harassed from 2018 to 2019—two years before this lawsuit.70 She
          “painful[ly]” recounted her harassment during four different investigatory interviews in
          March 2019—again, two years before this lawsuit.71 In 2019—again, two years before this
          lawsuit—LSU expelled Doe for failing grades, which she claims stemmed from anxiety
          about her harassment.72 She re-enrolled in fall of 2019, only to become “so depressed and
          uncomfortable . . . after everything” that she left again and enrolled in community college
          in December 2019—again, two years before this lawsuit.73
         A Ph.D. professor harassed Sarah Beth Kitch from 2009 to 2014, when she graduated and
          left LSU—six years before this lawsuit.74 During this time—again, at least six years before
          this lawsuit—Kitch believed the LSU administration prioritized its “general reputation”
          over sexual misconduct victims and alleges “[t]his environment” caused her “severe health
          problems, including . . . panic attacks, persistent feelings of dread and despair, a sense of
          worthlessness, and feelings of intense shame and humiliation.”75 After graduating—again,


64
          Id. at ¶¶ 230, 233–34.
65
          Id. at ¶¶ 247, 251, 253, 254, 256, 265, 266.
66
          Id. at ¶ 264.
67
          Id. at ¶ 282.
68
          Id. at ¶¶ 285, 299.
69
          Id. at ¶¶ 286, 297.
70
          Id. at ¶¶ 303, 306.
71
          Id. at ¶ 312.
72
          Id. at ¶ 318.
73
          Id. at ¶ 319.
74
          Id. at ¶¶ 340, 346.
75
          Id. at ¶ 343.


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       six years before this lawsuit—Kitch suffered “triggering flashbacks,” which interfered with
       her work and career.76 In August 2019—two years before this lawsuit—“Kitch realized
       her career was already over,” though she waited until now to sue for her “loss of her ability
       to . . . proceed with her expected academic career.”77
Not one of these plaintiffs alleges that their injuries or damages manifested after 2019. These

claims are prescribed.

       To resist this conclusion, plaintiffs try to invoke equitable tolling under contra non

valentem, or the “discovery rule,”78 by alleging that, until Husch Blackwell released its report on

March 3, 2021, none of them knew the extent of LSU’s culpability or that LSU knowingly failed

to investigate or appropriately discipline sexual predators:

       Until the release of the Report in March 2021, [Plaintiff] was unaware of the
       knowledge that LSU . . . had regarding the pervasive harassment, heightened risk
       of sexual assault, and retaliation [Plaintiffs] suffered . . . . [or] Defendants’
       intentional pattern of reacting to [Title IX] disclosures . . . in an extreme and
       outrageous manner designed to deter any future disclosures; intentional
       discriminatory treatment of female presenting students . . . ; intentional denial of
       students’ rights to Title IX investigations; negligent acts and the contribution of the
       same to the conspiracy to intentionally deprive Plaintiffs of their rights; and the
       extent of Defendants’ deviation from the duty of care.79

But based on the facts as plaintiffs plead them, Fifth Circuit precedent forecloses plaintiffs’

argument that they failed to understand “the extent of” any defendant’s impropriety.

       Because contra non valentem is a judicial exception to prescription, courts “strictly

construe” the doctrine against plaintiffs and apply it only in “exceptional” or “extreme”

circumstances.80 Even when contra non valentem applies, prescription begins to run when


76
       Id. at ¶ 347.
77
       Id. at ¶¶ 349, 352.
78
       The party asserting contra non valentem bears the burden of proving it applies. In re Taxotere
       (Docetaxel) Prods. Liab. Litig., 995 F.3d 384, 388–89 (5th Cir. 2021).
79
       R. Doc. 22 at ¶¶ 88, 154, 175, 190, 207, 242, 281, 300, 320, 338.
80
       Terrebone Par. Sch. Bd. v. Columbia Gulf Transmission Co., 290 F.3d 303, 320 (5th Cir. 2002)
       (collecting Louisiana cases); In re Taxotere (Docetaxel) Prods. Liab. Litig., 995 F.3d 384, 390 (5th
       Cir. 2021); see also Marin v. Exxon Mobil Corp., 48 So. 3d 234, 245 (La. 2010) (reversing district


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plaintiffs have actual or constructive knowledge of facts indicating they may have a claim.81

“Constructive” knowledge requires only enough information to “excite attention and prompt

further inquiry”;82 it does not require “facts or evidence sufficient to prove the claim.”83

       Just this year, in In re Taxotere (Docetaxel) Products Liability Litigation, the Fifth Circuit

emphasized how limited contra non valentem really is and reiterated several well-established

principles.84 First, “prescription runs [when] there is notice enough to call for inquiry about a

claim, not . . . when the inquiry reveals facts or evidence sufficient to prove the claim.”85

“Plaintiffs are not entitled to wait to sue until they are certain of what and/or who caused their

injury.”86 Second, a plaintiff’s failure “to ascertain whom to sue within a year does not toll . . .

prescription”; plaintiffs must seek out whomever they believe may be responsible.87 In other

words, it is enough to know that someone caused the plaintiff’s damage, “rather than requiring

actual knowledge of the particular cause of the [damage].”88 Indeed, the court explained that

“whatever is notice enough to excite attention and . . . call for inquiry is tantamount to knowledge

or notice of everything to which inquiry may lead.”89


       and appellate courts’ failure to grant dismissal based on prescription and noting “lower courts have
       interpreted . . . contra non valentem too broadly”).
81
       Keenan v. Donaldson, Lufkin & Jenrette, Inc., 575 F.3d 483, 489 (5th Cir. 2009).
82
       Eldredge v. Martin Mariette Corp., 207 F.3d 737, 743 (5th Cir. 2000).
83
       Keenan, 575 F.3d at 489.
84
       995 F. 3d 384 (5th Cir. 2021).
85
       Id. at 391 (emphasis in original) (quotation marks omitted) (quoting Terrel v. Perkins, 704 So. 2d
       35, 39 (La. App. 1st Cir. 1997).
86
       Id. at 391 (emphasis added).
87
       Id. (quoting Bennett v. Gen. Motors Corp., 420 So. 2d 531, 537–38 (La. App. 2d Cir. 1982); see
       also Alvarez v. Se. Com. Cleaning, LLC, 136 So. 3d 329, 337 (La. App. 5th Cir. 2014) (“Proof of
       a cause of action against a particular defendant is not required to commence the running of
       prescription.”).
88
       In re Taxotere, 995 F.2d at 392.
89
       Id.at 391 (emphasis added).


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       Considering this, plaintiffs’ argument that they did not know “the extent of [LSU’s]

deviation from the duty of care as outlined in [its] Title IX Policy” because they were unaware of

LSU’s “intentional” acts cannot save their untimely claims. Plaintiffs’ distinction between

intentional and negligent conduct is immaterial because a plaintiff “does not need to be aware of

exactly which legal claims and theories will be used in [the plaintiff’s] case” for prescription to

run.90 What’s more, plaintiffs’ allegations show they knew LSU mishandled their abuse because

plaintiffs were living through it, interacting directly with many of the named defendants.91

       Setting aside plaintiffs’ failure to allege TAF had any involvement in LSU’s handling Title

IX reports, the allegations show plaintiffs’ claims are untimely. Plaintiffs allegedly experienced

direct, in-person mistreatment while students, which suffices, not only to call for further inquiry,

but also to identify potential defendants. Thus, prescription began to run—and expired—long ago.

Plaintiffs Richardson, Robertson, Brennan, Owens, Andries, Lewis, Johnson, Doe, and Kitch’s

civil rights and tort claims must be dismissed.

II.    Plaintiffs do not allege any actionable civil rights claims against TAF.

       Even if plaintiffs’ civil rights claims are not prescribed, plaintiffs do not state a section

1983 claim against TAF for at least two reasons. First, TAF is a private corporation and not a state

actor under section 1983.92 Second, plaintiffs fail to properly allege the requisite elements of a

civil rights claim against TAF, rather than other defendants.




90
       In re Xarelto (Rivaroxaban) Prods. Liab. Litig., No. 15-4790, 2017 WL 4517287, at *2 (E.D. La.
       Oct. 10, 2017) (Fallon, J.).
91
       See supra notes 52–77 and accompanying text.
92
       If this court finds that TAF can be a state actor under section 1983, TAF reserves the right to argue
       immunity should apply, considering no court has held a private corporation like TAF liable under
       similar circumstances.


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           A. As a private corporation, TAF cannot be liable for civil rights violations.

       Section 1983 imposes liability on any person acting “under-color-of-state-law” who

deprives another of a constitutional or federally guaranteed right.93 The Supreme Court holds that

section 1983 cannot reach private conduct, “no matter how discriminatory or wrongful.”94

       Revised Statute § 17:3390 provides that TAF “shall be a private entity that shall not be

deemed to be a public or quasi public corporation or an administrative unit, public servant,

employee, or agent of any institution of higher education for any purpose whatsoever.”95 The same

statute also requires TAF be “under the direction and control of private individuals,” and “the

majority of [its] voting members . . . are not [state or public] employees.”96 TAF is also financially

independent from LSU, earning money only through private sources.97

       Plaintiffs hope to shoehorn TAF into their section 1983 claims (to threaten attorneys’ fees

under section 1988) by asserting TAF engaged in “joint action” with any or all the defendants who

are state actors. That is, when the “LSU Defendants and Individual Defendants . . . act[ed] under

color of [state] law,” plaintiffs contend TAF was a “willful participant[] acting jointly with the

other defendants in a conspiracy, the object of which was understood by all to be the deprivation



93
       E.g., Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 49–50 (1999).
94
       Sullivan, 526 U.S. at 49–50 (quoting Blum v. Yaretsky, 457 U.S. 991, 1002 (1982)).
95
       La. Stat § 17:3390(B).
96
       La. Stat. § 17:3390(A) and (B).
       This means TAF cannot be independently considered a “state actor.” Compare Lebron v. Nat’l
       R.R. Passenger Corp., 513 U.S. 374, 398–99 (1995) (holding “Government-created and-controlled
       corporations” are “part of the Government for purposes of the First Amendment”), and Brentwood
       Academy v. Tenn. Secondary Sch. Athletic Ass’n, 531 U.S. 288, 289–91 (2001) (holding “pervasive
       entwinement of public institutions and public officials in [an athletic association’s] composition
       and workings,” thus “overwhelming” the essential “structure of the association,” meant the
       association was a state actor), with Rundus v. City of Dallas, Tex., 634 F.3d 309, 310–15 (5th Cir.
       2011) (distinguishing Lebron and Brentwood when “no government employees, officials, or
       appointees” served in organizational leadership or had any “say in [its] internal decision making”).
97
       See La. Stat. § 17:3390 (A).


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of Plaintiffs’ constitutional rights.”98 And though plaintiffs assert three civil rights theories

premised on seemingly different conduct that violates different constitutionally protected rights,99

the allegation-by-legal-conclusion that TAF “acted jointly” never changes.100

       This cannot transform TAF into a state actor. All plaintiffs have done is violate Rules 8

and 12(b)(6) by reciting the bare elements of the applicable test:101 private acts may support § 1983

liability if the actor is “a willing participant in joint action with the state or its agents.”102 The

same cases plaintiffs must have reviewed to copy-and-paste this test require them to “state specific

facts, not merely conclusory allegations.”103 For decades, the Fifth Circuit has held “mere

conclusory allegations of conspiracy cannot, absent reference to material facts, state a substantial

claim of [§ 1983] conspiracy.”104 The court recently reminded us, “Plaintiffs who assert [civil

rights] conspiracy claims . . . must plead the operative facts upon which their claim is based. Bald

allegations that a conspiracy existed are insufficient.”105

       Precedent commands that “[d]eciding whether a deprivation of a protected right is fairly

attributable to the State begins by identifying the specific conduct of which the plaintiff

complains.”106 “To make the requisite showing of state action . . . [the plaintiff] must establish a


98
       R. Doc. 22 at ¶¶ 424, 434, 442.
99
       Id. at ¶¶ 423–32, 433–40, 441–50.
100
       See generally id.
101
       Rountree v. Dyson, 892 F.3d 681, 685 (5th Cir. 2018) (“Threadbare recitals of the elements of a
       cause of action, supported by mere conclusory statements, do not suffice.” (alterations omitted)
       (quoting Iqbal, 556 U.S. at 678)).
102
       Brinkmann v. Johnston, 793 F.2d 111, 112 (5th Cir. 1986).
103
       Id. at 113 (emphasis added).
104
       Id.
105
       Jackson v. City of Hearne, Tex., 959 F.3d 194, 206 n.16 (5th Cir. 2020) (quoting Lynch v.
       Cannatella, 810 F.2d 1363, 1369–70 (5th Cir. 1987)).
106
       Cornish v. Corr. Servs. Corp., 402 F.3d 545, 550 (5th Cir. 2005) (emphasis added) (quoting Am.
       Mfrs. Mut. Ins. Co. v. Sullivan, 526 US. 40, 51 (1999)).


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sufficiently close nexus between the State and the challenged action of the [private] entity.”107 And

the Supreme Court holds, “[w]hether such a ‘close nexus’ exists . . . depends on whether the State

‘has exercised coercive power or has provided such significant encouragement, either overt or

covert, that the choice must in law be deemed to be that of the State.”108 “Action taken by private

entities with the mere approval or acquiescence of the State is not state action.”109

       Here, plaintiffs fail to allege any “specific conduct” by TAF—what TAF did “jointly . . . .

in a conspiracy,” who at TAF “willful[ly] participat[ed]” in that joint action, when the joint action

was taken, or with whom of the many other defendants TAF acted.110 And plaintiffs’ allegations

of “control” are fundamentally backwards. Whereas the Supreme Court requires the state to

“exercise[] coercive power” over a private entity to transform its conduct into state action,

plaintiffs allege that TAF controlled LSU.111 Presumably, plaintiffs will continue to fall back on

the singular allegation of “separate” Athletic Department misconduct training,112 but Husch

Blackwell found this private consultation was “replete with solid recommendations” that LSU

should, but refused to, implement.113 LSU’s independent refusal does not transform its failures

into “state action” by TAF. Plaintiffs’ civil rights claims against TAF must be dismissed.




107
       Cornish, 402 F.3d at 550 (quoting Blum v. Yaretsky, 457 U.S. 991, 1004 (1982)) (emphasis
       omitted).
108
       Sullivan, 526 U.S. at 52.
109
       Id. (emphasis added).
110
       Compare Cornish, 402 F.3d at 550, with R. Doc. 22 at ¶¶ 424, 434, 442.
111
       Compare Sullivan, 526 U.S. at 52 (“Whether such a ‘close nexus’ exists, our cases state, depends
       on whether the State ‘has exercised coercive power or has provided such significant
       encouragement, either overt or covert, that the choice must in law be deemed to be that of the
       State.”), with R. Doc. 22 at ¶ 95 (“TAF’s level of control over LSU and its athletic programs goes
       well beyond what would normally be expected of a nonprofit organization . . . .”).
112
       R. Doc. 22 at ¶ 99.
113
       R. Doc. 22-1 at 39–40.


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           B. Plaintiffs fail to plead substantively valid civil rights claims because they
              cannot identify any impermissible conduct by TAF.

       Beyond pleading procedurally invalid civil rights claims because TAF is a purely private

actor, plaintiffs likewise fail to plead substantively valid civil rights claims. For example, to

properly plead a First Amendment retaliation claim, plaintiffs must allege (1) they were “engaged

in a constitutionally protected activity,” (2) TAF’s “actions caused [them] to suffer an injury that

would chill a person of ordinary firmness from continuing to engage in that activity,” and (3)

TAF’s “adverse actions were substantially motivated against [plaintiffs’] exercise of

constitutionally protected conduct.”114

       But here, none of plaintiffs identify what “adverse action” TAF took against them.

Plaintiffs discuss retaliation by only the “LSU Defendants”—a term plaintiffs themselves define

to exclude TAF.115 This hole is especially pronounced for plaintiffs Andries, Doe, Hovis, and

Kitch, who were not harassed or assaulted by a student-athlete and had zero interaction with

anyone in the Athletic Department.116 Indeed, none of plaintiffs even allege TAF knew they had

reported misconduct;117 thus, TAF cannot have been “substantively motivated” by reports it never




114
       Jackson, 959 F.3d at 203 (quoting Culbertson v. Lykos, 790 F.3d 608, 618 (5th Cir. 2015)).
115
       Compare R. Doc. 22 at ¶ 49 (“Collectively, the Board of Supervisors, LSU, and the individually
       named Defendants in their official capacities shall be referred to as ‘the LSU Defendants.’”), with
       id. at ¶ 428 (“The LSU Defendants’ retaliation against Plaintiffs’ speech serves no compelling state
       interest.” (emphasis added)).
116
       See id. at ¶¶ 209–43, 302–21, 340–352.
117
       Id. at ¶¶ 110–55, 156–76, 177–91, 192–208, 209–43, 244–82, 283–301, 302–21, 322–39, 340–52.
       Some plaintiffs admittedly failed to report their mistreatment, so by their own allegations did not
       engage in protected speech. See R. Doc. 22 at ¶¶ 164, 170 (Robertson alleging she did not want to
       proceed with a Title IX investigation); id. at ¶¶ 196–98, 200 (Owens alleging she left LSU before
       anyone knew about her rape); id. at ¶¶ 297–98 (Johnson alleging she never reported her
       mistreatment because she “was afraid”); id. at ¶ 349 (Kitch alleging she never reported her
       harassment until half a decade after graduating).


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knew about to take adverse action against people it never interacted with.118

       The most plaintiffs offer is a conclusion that “TAF . . . [is a] willful participant[] acting

jointly with the other defendants in a conspiracy, the object of which was understood by all to be

the deprivation of Plaintiffs’ constitutional rights.”119 But as already explained, merely using the

word “conspiracy” is not enough.120 These same issues plague plaintiffs’ equal protection claim,

procedural due process claim, and seemingly separate civil rights conspiracy claim against TAF.121

For each, plaintiffs must allege that TAF—not other, unrelated defendants—took some

unfavorable action toward them.122 For instance, plaintiffs allege that “Defendants,” generally and

without distinction, “fail[ed] to appropriately respond to and investigate reports of sexual

misconduct,”123 and “failed[] to report complaints of sex discrimination, initiate and/or conduct

adequate investigations and grievance procedures under Title IX.”124 But again, TAF is a private

corporation outside the university system that has no duty under Title IX to investigate or respond




118
       Jackson, 959 F.3d at 203; see also Oscar Renda Contracting, Inc. v. City of Lubbock, Tex., 577
       F.3d 264, 271–72 (5th Cir. 2009) (finding, as a matter of law, defendant cannot be liable for a First
       Amendment retaliation claim absent evidence the defendant “knew or even could have been likely
       to discover that there were constitutionally protected dimensions” to plaintiff’s speech).
119
       R. Doc. 22 at ¶¶ 424, 434, 442.
120
       See Crowe v. Henry, 43 F.3d 198, 206 (5th Cir. 1995); see also supra notes 103–05 and
       accompanying text.
121
       See R. Doc. 22 at 106–12, Counts VII, Count VIII, Count IX.
122
       Plaintiffs’ equal protection claim—premised on the idea that LSU differently treats female-
       presenting sexual misconduct victims—fails for the additional reason that plaintiffs entirely fail to
       allege how LSU treats male-presenting sexual misconduct victims. It would be both legally and
       factually improper for plaintiffs to argue that the relevant inquiry here is the difference between
       female students, generally, and male students, generally, when the crux of plaintiffs’ complaint is
       that LSU neglected to institute Title IX actions, investigate, or appropriately resolve sexual
       misconduct complaints, and not every student is a sexual misconduct victim. See generally R. Doc.
       22 at 1. Thus, the only relevant comparison can be between female-presenting and male-presenting
       sexual misconduct victims. See id. at ¶ 437.
123
       R. Doc. 22 at ¶ 436.
124
       Id. at ¶ 444 (emphasis added).


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to reports of campus misconduct.125 Because plaintiffs fail to plead the elements of substantive

civil rights claims against TAF, these claims must be dismissed.

III.    Plaintiffs do not allege any actionable state-law claims against TAF.126

        As explained in section I, plaintiffs’ state-law tort claims are prescribed. But even if those

claims were timely, plaintiffs fail to state any state-law claim against TAF for many reasons,

separately addressed below. Most crucially, plaintiffs’ tort claims against TAF fail because

plaintiffs seek to impose Title IX duties on an entity admittedly not subject to Title IX.

            A. As a private corporation separate from LSU, TAF did not owe plaintiffs any
               duty, or breach any purported duty, to control LSU.

        Louisiana's “standard negligence analysis”—the “duty-risk analysis”—requires a plaintiff

to plead and prove five elements, two of which are particularly relevant here: “first, that the

defendant had a duty to conform his conduct to a specific standard (duty)”; and, “second, that the

defendant's conduct failed to conform to the appropriate standard (breach).”127

        The “threshold issue” of any negligence claim is “whether the defendant owed the plaintiff

a duty.”128 The court decides “whether, as a matter of law, a duty is owed to this particular plaintiff

to protect [the plaintiff] from this particular harm.”129 The relevant inquiry is whether “the plaintiff

has any law (statutory, jurisprudential, or arising from general principles of fault) to support the




125
        See generally 20 U.S.C. § 1681 (“No person in the United States shall, on the basis of sex, be
        excluded from participation in, be denied the benefits of, or be subjected to discrimination under
        any education program or activity receiving Federal financial assistance.”).
126
        If the court dismisses all the federal claims, it should decline to exercise supplemental jurisdiction
        over plaintiffs’ myriad state-law claims under 28 U.S.C. § 1367(c), and the court need not address
        TAF’s remaining arguments.
127
        Duncan v. Wal-Mart La., L.L.C., 863 F.3d 406, 409 (5th Cir. 2017).
128
        Audler v. CBC Innovis Inc., 519 F.3d 239, 249 (5th Cir. 2008) (citing Meany v. Meany, 639 So. 2d
        229, 233 (La. 1994)).
129
        Id. (quoting Barrie v. V.P. Exterminators, Inc., 625 So. 2d 1007, 1016 (La. 1993)).


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claim that the defendant owed [the plaintiff] a duty.”130 Plaintiffs cannot rely only on the general

duty to behave reasonably; “plaintiffs are still required to assert a ‘specific standard’ of care.”131

Here, every “specific standard” plaintiffs invoke arises under Title IX, Section 504 of the

Rehabilitation Act, or the Americans with Disabilities Act—all of which do not apply to TAF.132

       By its terms, Title IX governs only “any education program or activity receiving Federal

financial assistance” or “educational institutions.”133 And the Department of Education’s latest

Title IX guidance reminds these entities receiving federal funds that they “remain[] ultimately

responsible for ensuring compliance with the legal obligations under the Title IX Rule.”134 TAF

carries no such responsibility under the law, and Louisiana law prohibits TAF from being deemed

a public entity “for any purpose.”135

       In other words, TAF cannot be liable for allegedly “failing to properly investigate the

Plaintiffs’ reports of sexual misconduct” if TAF has no duty to investigate sexual misconduct on

LSU’s campus (not to mention plaintiffs’ failure to allege that anyone at TAF knew plaintiffs


130
       Id. (quoting Faucheaux v. Terrebonne Consol. Gov't, 615 So. 2d 289, 292 (La.1993)); Butler v.
       Denka Performance Elastomer, L.L.C., No. 20-30365, 2021 WL 4810639, at *12 (5th Cir. Oct. 15,
       2021) (same).
131
       Butler, 2021 WL 4810639, at *12.
132
       See generally R. Doc. 22 at ¶¶ 483.
133
       20 U.S.C. § 1681. Similarly, Section 504 applies only to “any program or activity receiving Federal
       financial assistance,” and the ADA applies to “services, programs, or activities of a public entity,”
       which excludes a fiscally independent private corporation like TAF. See 29 U.S.C. § 794; 42
       U.S.C. § 12132.
134
       United States Department of Education: Office for Civil Rights, Questions and Answers Regarding
       the     Departmnet’s       Final    Title    IX      Rule     at    5     (Sept.   4,    2020),
       https://www2.ed.gov/about/offices/list/ocr/docs/qa-titleix-20200904.pdf (last visited Nov. 7,
       2021); see also id. (“Similarly, each recipient is responsible for ensuring that its grievance
       procedures satisfy the Title IX Rule.”).
       The court may judicially notice this information contained on a public website. See generally
       Swindol v. Aurora Flight Sciences Corp., 805 F.3d 516, 519 (5th Cir. 2015) (taking judicial notice
       of public records available on official website).
135
       La. Stat. § 17:3390(B).


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suffered sexual misconduct).      TAF likewise cannot be liable for “failing to ensure LSU

implemented its Title IX Policy and Code of Student Conduct,” if TAF has no legal say in LSU’s

Title IX Policy or Code of Student Conduct—because TAF is not an educational institution, and

it has no students. In any event, the Husch Blackwell report reveals that TAF’s limited conduct,

in paying a consultant to provide LSU a written assessment “replete with solid recommendations,”

cannot constitute breach of any purported duty.136 All of plaintiffs’ negligence claims must be

dismissed.

       In addition, Andries’s, Doe’s, Hovis’s, and Kitch’s claims against TAF must be dismissed

because none of their allegations have anything to do with athletics. The crux of plaintiffs’ claims

against TAF is that TAF “control[s] . . . LSU athletics” and encourages poor Title IX practices

“within LSU’s Athletics Department.”137 Plaintiffs do not allege TAF interacted at all with LSU’s

Title IX department or any employees outside the Athletic Department.138 Thus, plaintiffs fail to

allege how TAF could owe any duty or breach any purported duty supposedly owed to students

unrelated to athletics. Andries, Doe, Hovis, and Kitch do not allege they were student-athletes or

that they were assaulted by student-athletes.139 Nor do they allege reporting their mistreatment to

anyone with the Athletic Department who could have conceivably been influenced by TAF’s

“control over LSU Athletics.”140 Accordingly, their claims may be separately dismissed for this

independent reason.




136
       R. Doc. 22-1 at ¶ 39.
137
       R. Doc. 22 at ¶ 99.
138
       See generally id.
139
       Id. at ¶¶ 209–43, 302–21, 322–339, 340–52.
140
       Id. at ¶ 99.


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           B. Plaintiffs’ citation to Louisiana Civil Code article 2030 governing absolute
              nullity of contracts is clearly misplaced.

       In Counts XIII, XIV, and XV, plaintiffs allege that, besides negligence, every defendant is

liable under Louisiana Civil Code article 2030 governing “absolute nullity of contracts.”141 But

Louisiana law separates ex delictu liability from ex contractu, making article 2030 inapplicable to

negligence.142 At the very least, article 2030 does not apply to TAF because plaintiffs are not

pursuing any contract claim against TAF.143

           C. Plaintiffs’ negligent supervision claim fails because TAF has no duty to
              supervise people whom it does not employ.

       Plaintiffs’ negligent supervision claim merely repackages their general negligence theory.

Plaintiffs contend TAF had to supervise, train, and monitor LSU employees and students on Title

IX even though only LSU bears ultimate responsibility for its employees, its students, and its Title

IX obligations.144 This claim must be dismissed.

           D. Plaintiffs’ infliction-of-emotional distress claims also substantively fail.

       In Count XIV, plaintiffs try to allege negligent infliction of emotional distress but say

nothing specific about TAF, or mention TAF at all.145 In Count XV, plaintiffs assert intentional

infliction of emotional distress, but are far from alleging “conduct . . . so outrageous in character,


141
       Compare R. Doc. 22 at ¶¶ 489–96, 497–503, 504–09, with La. Civ. Code art. 2030 (“A contract is
       absolutely null when it violates a rule of public order . . . .”).
142
       See generally Smith v. Citadel Ins. Co., 285 So. 3d 1062, 1067 (La. 2019) (noting “[f]ault is
       contractual when it causes a failure to perform an obligation that is conventional in origin . . . while
       fault is delictual when it causes the dereliction of one of those duties imposed upon a party
       regardless of his will”).
143
       See R. Doc. 22 at 123–24, Count XVI (asserting bad-faith breach of contract against LSU,
       Alexander, Monaco, Orgeron, “O” The Rosy Finch Boyz, Marchand, Stewart, Sanders, Blanchard,
       and Fuentes-Martin).
144
       None of TAF’s employees are named in this action, or even alleged to have engaged in any bad
       behavior. See generally R. Doc. 22.
145
       Id. at ¶¶ 497–503.


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and so extreme in degree, as to go beyond all possible bounds of decency, and to be regarded as

atrocious and utterly intolerable in a civilized community.”146 Not even “tortious or . . . criminal”

conduct that was “arbitrary and without compassion,” or done with malice, rises to the “high

threshold of [actionable] extreme and outrageous conduct.”147 While Louisiana courts have refused

to recognize intentional infliction of emotional distress when a supervisor publicly “launched a

profane tirade” against his employees;148 another supervisor engaged in “violent, screaming rages”

by calling his employee “dumb,” “stupid,” and “fat”;149 and a law firm repeatedly subjected an

associate to allegedly “unbearable” race discrimination,150 plaintiffs merely allege that TAF once

“confused” female student-athletes (which does not include Richardson, Robertson, Brennan,

Owens, Andries, Doe, Hovis, or Kitch) with Title IX training.151 But Louisiana imposes “strict

guidelines” on emotional distress claims to “protect[] the court’s time and limited resources” by

“limit[ing] the class of claimants and prevent[ing] false claims.”152 No case allows emotional

distress claims to stretch this far.

            E. Civil conspiracy under Louisiana Civil Code article 2324 is not a separately
               recognized cause of action.

        Decades ago, in Jefferson v. Lead Industries Ass’n, the Fifth Circuit held, “Louisiana law

does not recognize an independent cause of action for civil conspiracy.”153 The law has not


146
        White v. Monsanto, 585 So. 2d 1205, 1209 (La. 1991).
147
        Nicholas v. Allstate Ins. Co., 765 So. 2d 1017, 1022, 1028 (La. 2000).
148
        White, 585 So. 2d at 1207.
149
        Beaudoin v. Hartford Acc. & Indem. Co., 594 So. 2d 1049, 1050 (La. App. 3d Cir. 1992).
150
        King v. Phelps Dunbar, L.L.P., 743 So. 2d 181, 184 (La. 1999).
151
        R. Doc. 22 at ¶ 506.
152
        Crockett v. Cardona, 713 So. 2d 802, 805 (La. App. 4th Cir. 1998).
153
        106 F.3d 1245, 1253–54 (5th Cir. 1997) (collecting cases); Canterbury Joint Venture v. Prudential
        Ins. Co., 99 F.3d 1136, 1996 WL 595717, at *3 (5th Cir. 1996) (“[A]rticle 2324 of the Louisiana
        Civil Code does not provide an independent basis for liability.”).


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changed since. The Fifth Circuit,154 nearly every Louisiana Circuit Court of Appeals,155 and

Louisiana’s federal district courts continue to hold that “conspiracy . . . is not an independent cause

of action”156 because “[t]he actionable element of a conspiracy claim is not the conspiracy itself

[but] the [underlying] tort.”157 So plaintiffs’ separate “claim” for conspiracy under article 2324 is

frivolous and must be dismissed.

           F. Plaintiffs’ assertion of other claims precludes any unjust enrichment claim.

       Plaintiffs’ twentieth cause of action (Count XX) is unjust enrichment under Civil Code

article 2298. But that article proclaims unjust enrichment is “subsidiary” and “shall not be available

if the law provides another remedy for the [plaintiff’s alleged] impoverishment.”158 In other

words, an essential element of unjust enrichment is the lack of any other potential theory of

liability.159 As the United States Fifth Circuit explained in Ferrera Fire Apparatus, Inc. v. JLG

Industries, Inc., “Louisiana law is clear on this point . . . it is not the success or failure of other


154
       Louisiana v. Guidry, 489 F.3d 692, 706 n.54 (5th Cir. 2007) (“Louisiana law does not recognize an
       independent cause of action for civil conspiracy. The actionable element under article 2324 is the
       intentional tort the conspirators agreed to commit and committed in whole or in part causing the
       plaintiff’s injury.”).
155
       Dhaliwal v. Dhaliwal, 184 So. 3d 773, 787 (La. App. 2d Cir. 2015) (“An independent cause of
       action for civil conspiracy does not exist in Louisiana.”); Ingram v. Freeman, 326 So. 2d 565, 570
       (La. App. 3d Cir. 1976) (“A conspiracy alone is not civilly actionable.”); Crutcher-Tufts Resources,
       Inc. v. Tufts, 38 So. 3d 987, 991 (La. App. 4th Cir. 2010) (“Conspiracy by itself is not an actionable
       claim under Louisiana law.”); Khoobehi Props., L.L.C. v. Baronne Dev. No. 2, L.L.C., 288 So. 3d
       224, 232 (La. App. 5th Cir. 2019) (“Louisiana law does not have an independent cause of action
       for civil conspiracy.”).
156
       Schott, Tr. for Estate of InforMD, LLC v. Massengale, No. 18-759-JWD-RLB, 2019 WL 4738795,
       at *1 (M.D. La. Sept. 27, 2019) (granting 12(b)(6) motion to dismiss “conspiracy to commit fraud”
       claim); see also Branden v. F.H. Paschen, S.N. Nielsen, Inc., No. 19-2406, 2019 WL 1760694, at
       *4 n.38 (E.D. La. Apr. 22, 2019) (“Louisiana law does not recognize an independent cause of action
       for civil conspiracy.”); Dietz v. Dietz, No. 08-0521, 2009 WL 2707402, at *10 (W.D. La. Aug. 27,
       2009) (same).
157
       Khoobehi Props., 288 So. 3d at 232; see also Jefferson v. Lead Industries Ass’n, Inc., 106 F. 3d
       1245, 1254 (5th Cir. 1997) (same).
158
       La. Civ. Code art. 2298.
159
       Ferrara Fire Apparatus, Inc. v. JLG Indus., Inc., 581 F. App’x 440, 443–44 (5th Cir. 2014).


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causes of action” that matters; the mere “existence of other causes of action” precludes a plaintiff

from pursuing unjust enrichment.160 Indeed, in Walters v. MedSouth Record Management, LLC,

the Louisiana Supreme Court held that plaintiffs cannot plead unjust enrichment even alternatively

to other claims.161 And Middle District of Louisiana Chief Judge Shelley Dick recently explained

that Ferrera Fire and Walters “directly . . . foreclos[e]” any argument that Rule 8’s allowance for

alternative or inconsistent pleading permits plaintiffs to plead unjust enrichment among other

claims.162 Here, plaintiffs plead nineteen other causes of action alongside unjust enrichment—ten

others directly against TAF.163 As the Fifth Circuit, Louisiana Supreme Court, and Middle District

of Louisiana have all held, that alternative theories merely exist directly forecloses any unjust

enrichment claim. Count XX should be dismissed.




160
       581 F. App’x at 443–44 (alterations omitted) (emphasis added) (citing Garber v. Baden & Ranier,
       981 So. 2d 92, 100 (La. App. 3 Cir. 2008).
161
       38 So. 3d 241, 242 (La. 2010) (“Having pled a delictual action, we find plaintiff is precluded from
       seeking to recover under unjust enrichment. . . . [even though] plaintiff’s tort claims have been
       held to be prescribed. The mere fact that a plaintiff does not successfully pursue another available
       remedy does not give the plaintiff the right to recover under . . . unjust enrichment.”).
162
       Entergy Gulf States Louisiana, L.L.C. v. La. Generating, L.L.C., No. 14-385, 2020 WL 961499, at
       *5 (M.D. La. Feb. 27, 2020).
163
       That plaintiffs pursue theories against other defendants is another reason to dismiss the unjust
       enrichment claim. See Insulation Techs., Inc. v. Indus. Labor & Equip. Servs., Inc., 122 So. 3d
       1146, 1151 (La. App. 4th Cir. 2013) (holding that a plaintiff’s breach-of-contract claim against one
       defendant was an “available remedy” precluding an unjust enrichment claim against an entirely
       different defendant).


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                                          CONCLUSION

          For all these reasons, plaintiffs’ civil rights and state-law claims against TAF should be

dismissed as a matter of law. Any amendment would be futile and should not be allowed.


                                                       Respectfully submitted,

                                                          /s/ Chloé M. Chetta
                                                       Judy Y. Barrasso, 02814
                                                       Laurence D. LeSueur, 35206
                                                       Chloé M. Chetta, 37070
                                                       Lance W. Waters, 37351
                                                       Barrasso Usdin Kupperman
                                                         Freeman & Sarver, L.L.C.
                                                       909 Poydras Street, Suite 2350
                                                       New Orleans, LA 70112
                                                       Telephone: (504) 589-9700
                                                       Facsimile: (504) 589-9701
                                                       jbarrasso@barrassousdin.com
                                                       llesueur@barrassousdin.com
                                                       cchetta@barrassousdin.com
                                                       lwaters@barrassousdin.com

                                                       Counsel for Tiger Athletic Foundation
1786912




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